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 Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 JAMIE LYNN GALLIAN
 16222 MONTEREY LANE UNIT 376
 HUNTINGTON BEACH, CA 92649
 (714) 321-3449
 JAMIEGALLIAN@GMAIL.COM




 D Attorney for Movant
 � Movant appearing without an attorney
                               UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION

 In re:                                                   CASE NO.:      8:21-bk-11710-ES
                                                          CHAPTER:       7
 JAMIE LYNN GALLIAN,
                                                                 SUPPLEMENTAL NOTICE OF HEARING
                                                               TO BE HELD REMOTELY USING ZOOMGOV
                                Debtor.                                  AUDIO AND VIDEO

                                                          HEARING DATE:         SEPTEMBER 22, 2022
                                                          HEARING TIME:         10:00 a.m.




 Movant: Debtor JAMIE LYNN GALLIAN


     1. The Movant has filed the following written notice or other pleading ("Notice") advising of a hearing to be
        held in the above-captioned case, on the date and time indicated above, before the Honorable Erithe A.
        Smith, United States Bankruptcy Judge (insert name of pleading and, if available, docket number):

          Debtors Motion for Reconsideration to INTERESTED PARTY HOUSER BROS CO OBA RANCHO
          DEL REY MOBILE HOME ESTATES AND JOINDERS MOTION OBJECTING TO
          DEBTOR'S CLAIMED HOMESTEAD EXEMPTION, DOC 157.

    2. Please be advised that because of the COVID-19 pandemic, the Court will conduct the hearing
       using ZoomGov audio and video technology. Information on how to participate in the hearing using
       ZoomGov is provided on the following page of this notice.




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    3. Hearing participants and members of the public may participate in and/or observe the hearing using
       ZoomGov, free of charge.
    4. Individuals may connect by ZoomGov audio and video using a personal computer (equipped with
       camera, microphone and speaker), or a handheld mobile device with an integrated camera, microphone
       and speaker (such as an iPhone, iPad, Android phone or Android tablet). The connection can be initiated
       by entering the "Meeting URL" into a web browser on any of these devices, provided the device is
       connected to the Internet. Individuals connecting in this manner will be prompted for the Meeting ID and
       Password shown below.
    5. Individuals also may connect to the hearing by telephone only, using the telephone number provided
       below. Individuals connecting in this manner also will be prompted for the Meeting ID and Password.
    6. Neither a Zoom nor a ZoomGov account is necessary to participate in or observe the hearing, and no
       pre-registration is required.
    7. The audio portion of the hearing will be recorded electronically by the Court and constitute its official
       record.
    8. All persons are strictly prohibited from making any other recording of court proceedings, whether by
       video, audio, "screenshot," or otherwise. Violation of this prohibition may result in the imposition of
       monetary and non-monetary sanctions.
    9. The following is the unique ZoomGov connection information for the above-referenced hearing:

                       Meeting URL: https://cacb.zoomgov.com/j/1613130028
                       Meeting ID: 161 313 0028
                       Password: 664703
                       Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828
                       7666

    10. More information on using ZoomGov to participate in this hearing is available on the Court's website at
        the following web address: httgs://www.cacb.uscourts.gov/news/zoom-video-hearing-guide-and­
        training-participants




Date: AUGUST 25, 2022



                                                       JAMIE LYNN GALLIAN

                                                      Printed name of individual Movant or attorney for Movant




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
5801 SKYLAB RD HUNTINGTON BEACH, CA 92647.

A true and correct copy of the foregoing document entitled: SUPPLEMENTAL NOTICE OF HEARING
TO BE HELD REMOTELY USING ZOOMGOV AUDIO AND VIDEO will be served or was served {a) on the judge in
chambers in the form and manner required by LBR 5005-Z(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING {NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On AUGUST
25. 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                       [81    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On                        , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on AUGUST 25. 2022, I served the i6i)k;wing persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.
JANINE JASSO, ESQ. J9_JASSO@YAHOO.COM

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES' OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES' COPIES.


                                                                                       □       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 AUGUST 25, 2022                          ROBERT MCLELLAND
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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